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            Excerpt From Torchat Log gx5of53tpzvvjwbn.log [Flush]

2012‐11‐06 11:27) flush: also, one guy wanted to tip customer support. I just gave
them the standard " donate to DPR" pasta
(2012‐11‐06 11:28) myself: if he wants to tip support specifically, you can accept it
and split it with inigo. if they want to donate to the site, have them send it to me. we
pass those along to some non‐profits we support
(2012‐11‐06 11:28) flush: okay cool
(2012‐11‐06 11:29) flush: hey, if you want, you can add The Family Literacy
centers, llc to the non profits
(2012‐11‐06 11:29) flush: its for helping people learn how to read
(2012‐11‐06 11:29) flush: its the one i donate my time to
(2012‐11‐06 11:29) flush: when i have extra time that is, lol
(2012‐11‐06 11:29) flush: they are a registered 501c
(2012‐11‐06 11:30) flush: their website is www.flcinc.org
(2012‐11‐06 11:30) myself: oh good, then I can write off my taxes, lol
(2012‐11‐06 11:30) flush: absolutely
(2012‐11‐06 11:30) myself: that's a joke mate :)
(2012‐11‐06 11:30) flush: my dad is in charge of it
